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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     West Palm Beach Division
                                       www.flsb.uscourts.gov

In re:                                                               Chapter 11

TOOJAY’S MANAGEMENT LLC,                                             Case No. 20-14792-EPK


                   Debtor.
                                                /

                  DEBTORS’ EMERGENCY APPLICATION FOR
         APPROVAL, ON AN INTERIM AND FINAL BASIS, OF EMPLOYMENT
          OF MICHAEL I. GOLDBERG, EYAL BERGER, AND THE LAW FIRM
         OF AKERMAN LLP AS GENERAL BANKRUPTCY COUNSEL FOR THE
         DEBTORS-IN-POSSESSION EFFECTIVE AS OF THE PETITION DATE

                             (Emergency Hearing Requested for May 1, 2020)

                                 Statement of Exigent Circumstances
             Without general bankruptcy counsel, the Debtors are technically unable to
             proceed with this case. Akerman LLP will play an integral role in the first
             21 days of this Chapter 11 case. Among other things, the Debtors will need
             Akerman LLP’s assistance in filing schedules, stabilizing business
             operations and addressing issues related to the "first day" hearings and
             related orders. The Debtor certifies that it has made a bona fide effort to
             resolve the matter without hearing.

         The Debtors, as defined herein, pursuant to 11 U.S.C. § 327(a), Fed. R. Bankr. P. 2014

and 2016, and Local Rules 2014-1(A), 2016-1(A), and 9075-1 hereby file this Emergency

Application for Approval, on an Interim and Final Basis, of Employment of Michael I. Goldberg,

Eyal Berger and the law firm of Akerman LLP as General Bankruptcy Counsel for the Debtors-

in-Possession Effective as of the Petition Date (the “Application”) seeking approval, on interim

and final basis, of the employment of Michael I. Goldberg and Eyal Berger (“Berger”) and the

law firm of Akerman LLP (“Akerman”), to represent the Debtors as general bankruptcy counsel

in the Debtors’ Chapter 11 cases, effective as of the Petition Date. In support of this Application,

the Debtors rely upon the Declaration of Eyal Berger on behalf of Akerman LLP, as Proposed


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Counsel for the Debtor-In-Possession attached hereto as Exhibit “A” (the “Berger Declaration”)

and the Declaration of Edward Maxwell Piet in Support of the Debtor's Chapter 11 Petition and

Request for First Day Relief (the “First Day Declaration”).

         In further support of this Application, the Debtors respectfully represent as follows:

                                          I.       JURISDICTION

         1.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this District

pursuant to 28 U.S.C. § 1408. The statutory predicate for the relief requested herein is 11 U.S.C.

§ 327(a), Fed. R. Bankr. P. 2014 and 2016, and Local Rules 2014-1(A) and 2016-1(A).

                     II.      BACKGROUND AND BUSINESS OPERATIONS

         2.      On or about April 29, 2020 (“Petition Date”), TOOJAY’S MANAGEMENT LLC

and TJ ACQUISITION, LLC (collectively “Debtors”)1 filed voluntary petitions (“Petitions”) in

this Court for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy

Code”). A motion for joint administration of these Chapter 11 cases will be filed.

         3.      As of the date hereof, no creditor committees have been appointed in any case. In

addition, no trustees or examiners have been appointed.

         4.      The Debtors are operating their businesses and managing their affairs as debtors

in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

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  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtors’ federal tax identification
number, are: TooJay’s Management LLC (0443) and TJ Acquisition, LLC (1455). The following additional
affiliates of Debtors have or will file Chapter 11 Cases (collectively, “Filing Affiliates”): TooJay’s Altamonte,
L.L.C. (5466), TooJay’s at Dr. Phillips, L.L.C. (8342), TooJay’s Bakery & Commissary, L.L.C. (7016), TooJay’s
Boynton Oakwood Square, L.L.C. (3583), TooJay’s Colonial, L.L.C. (6530), TooJay’s Coral Springs, L.L.C.
(5919), TooJay’s Dania Beach, L.L.C. (2030), TooJay’s Downtown Gardens, L.L.C. (0351), TooJay’s Downtown
Tampa, L.L.C. (5046), TooJay’s Glades, L.L.C. (3884), TooJay’s Hallandale, L.L.C. (4596), TooJay’s Jupiter,
L.L.C. (5986), TooJay’s Lake Worth, L.L.C. (3353), TooJay’s Naples, LLC (3336), TooJay’s N Ft. Lauderdale,
L.L.C. (8438), TooJay’s of Lake Mary, LLC (0594), TooJay’s of Ocoee, L.L.C. (9601), TooJay’s of Sarasota,
L.L.C. (7584), TooJay’s of the Villages, L.L.C. (0798), TooJay’s of West Boca, L.L.C. (8250), TooJay’s Palm
Beach, L.L.C. (1908), TooJay’s Plantation, L.L.C. (8882), TooJay’s Stuart, L.L.C. (4505), TooJay’s Vero, L.L.C.
(0750), TooJay’s Villages III, L.L.C. (5254), TooJay’s VLG II, L.L.C. (2492), TooJay’s Waterford Lakes, L.L.C.
(9363), TooJay’s Wellington Commons, L.L.C. (3967), and TooJay’s West Palm Beach, L.L.C. (4685).

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         5.    For a detailed description of the Debtors, their operations, assets and liabilities,

the Debtors respectfully refer the Court and parties-in-interest to the First Day Declaration.

                                 III.    RELIEF REQUESTED

         6.    By this Application, the Debtors seek to employ and retain Michael I. Goldberg,

Esq., Eyal Berger, Esq. and the law firm of Akerman as its general restructuring and bankruptcy

counsel with regard to the filing of their Chapter 11 petitions and the prosecution of their

respective Chapter 11 cases. Accordingly, the Debtors respectfully request the entry of an order

pursuant to Section 327(a) of the Bankruptcy Code, followed by the entry of a final order to be

entered at a hearing to be held twenty-one (21) days later, authorizing the Debtors to employ and

retain Michael I. Goldberg, Eyal Berger, Esq. and the law firm of Akerman as its general

bankruptcy counsel under a general retainer to perform the legal services that will be necessary

during their Chapter 11 cases and that of their Filing Affiliates as more fully described below.

         7.    Prior to the commencement of its Chapter 11 case, the Debtors sought the services

of Akerman principally with respect the preparation for and potential commencement and

prosecution of Chapter 11 case for the Debtor.           The Debtors believe that the continued

representation by its pre-petition restructuring counsel, Akerman, is critical to the Debtors’

efforts to restructure its business because Akerman has extensive experience and expertise in

complex commercial reorganization cases and has become familiar with the Debtors’ business,

legal and financial affairs. Akerman is qualified to practice in this court and qualified to advise

the Debtors on their relations with, and responsibilities to, the creditors and other interested

parties. Accordingly, Akerman is well-suited to guide the Debtors through the Chapter 11

process.




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         A.     Services to be Provided

         8.     The services of Akerman are necessary to enable the Debtors to execute faithfully

their duties as debtors-in-possession. Subject to order of this Court, the law firm of Akerman

will be required to render, among others, the following services to the Debtors:

                (a)     advise the Debtors with respect to their powers and duties as debtors and
         debtors-in-possession in the continued management and operation of its business and
         properties;

                 (b)     attend meetings and negotiate with representatives of creditors and other
         parties-in-interest and advise and consult on the conduct of the case, including all of the
         legal and administrative requirements of operating in Chapter 11;

                 (c)    advise the Debtors in connection with any contemplated sales of assets or
         business combinations, including the negotiation of sales promotion, liquidation, stock
         purchase, merger or joint venture agreements, formulate and implement bidding
         procedures, evaluate competing offers, draft appropriate corporate documents with
         respect to the proposed sales, and counsel the Debtors in connection with the closing of
         such sales;

                 (d)     advise the Debtors in connection with post-petition financing and cash
         collateral arrangements, provide advice and counsel with respect to pre-petition financing
         arrangements, and provide advice to the Debtors in connection with the emergence
         financing and capital structure, and negotiate and draft documents relating thereto;

                 (e)     advise the Debtors on matters relating to the evaluation of the assumption,
         rejection or assignment of unexpired leases and executory contracts;

                 (f)    provide advice to the Debtors with respect to legal issues arising in or
         relating to the Debtors’ ordinary course of business including attendance at senior
         management meetings, meetings with the Debtors’ financial and turnaround advisors, and
         provide advice on employee, workers compensation, employee benefits, labor, tax,
                                                  '



         insurance, securities, corporate, business operation, contracts, joint ventures, real
         property, press/public affairs and regulatory matters;

                (g)     take all necessary action to protect and preserve the Debtors’ estates,
         including the prosecution of actions on its behalf, the defense of any actions commenced
         against the estates, negotiations concerning all litigation in which the Debtors may be
         involved and objections to claims filed against the estates;

                (h)     prepare on behalf of the Debtors all schedules, motions, pleadings,
         applications, adversary proceedings, answers, orders, reports and papers necessary to the
         administration of the estates;



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                 (i)     negotiate and prepare on the Debtors’ behalf a plan of reorganization,
         disclosure statement and all related agreements and/or documents, and take any necessary
         action on behalf of the Debtors to obtain confirmation of such plan;

                 (j)     attend meetings with third parties and participate in negotiations with
         respect to the above matters;

                 (k)    advise the Debtors with respect to their responsibilities in complying with
         the U.S. Trustee’s Operating Guidelines and Reporting Requirements and with the rules
         of the court;

                 (l)     appear before this Court, any appellate courts, and the U.S. Trustee, and
         protect the interests of the Debtors’ estates before such courts and the U.S. Trustee; and

                 (m)     perform all other necessary legal services and provide all other necessary
         legal advice to the Debtors in connection with the Chapter 11 cases.

         9.     Akerman is willing to act on behalf of the Debtors as set forth above, and with

respect to such Filing Affiliates.

B.       Terms of Retention

         10.    Akerman was engaged by the Debtors for restructuring services on April 26, 2020

and in connection therewith received an initial retainer from Debtor, TOOJAY’S

MANAGEMENT LLC, in the amount of $800,000 (the “Prepetition Retainer”), of which

amount $62,000 (a total of $2,000 for each of the cases of Debtors and the Filing Affiliates) is a

retainer to cover filing fees and other costs, and the remaining $738,000 is to cover professional

fees in the Debtors’ and Filing Affiliates’ cases. Of the Prepetition Retainer, Akerman has

earned $57,572.48 at the time of the filing of the Petitions. All fees and expenses incurred by

Akerman, in excess of the Prepetition Retainer, shall be paid from a portion of the Debtors’ cash

collateral and future revenues upon approval of the Court. A copy of the executed engagement

letter is attached as Exhibit “1” to the Berger Affidavit.

         11.    Akerman intends to apply to the Court for allowance of compensation for

professional services rendered and reimbursement of charges and disbursements incurred in



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these Chapter 11 cases in accordance with applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Bankruptcy Rules and the orders of this Court, including but not

limited to for the filing fees associated with these Chapter 11 cases, which were charged on

Akerman’s corporate credit card after the Debtors’ petitions were filed. Akerman will seek

compensation for the services of each attorney and paraprofessional acting on behalf of the

Debtors and Filing Affiliates in the Chapter 11 cases at the then-current rate charged for such

services.

         12.   Consistent with the firm’s policy with respect to its other clients, Akerman will

charge the Debtors for all services provided and for other charges and disbursements incurred in

the rendition of services. These charges and disbursements include, among other things, costs

for telephone charges, photocopying, travel, computerized research, messengers, couriers,

postage, witness fees and other fees related to trials and hearings.

         13.   Akerman has agreed to accept as compensation such sums as may be allowed by

the Court on the basis, among others, of the professional time spent, the rates charged for such

services, the necessity of such services to the administration of the estates, the reasonableness of

the time within which the services were performed in relation to the results achieved, and the

complexity, importance and nature of the problems, issues or tasks addressed in this case.

         14.   Other than as set forth herein and in the Berger Declaration, no arrangement is

proposed between the Debtors and Akerman for compensation to be paid in this case, and no

agreement or understanding exists between Akerman and any other entity for the sharing of

compensation received or to be received for services rendered in or in connection with the case.

         15.   No previous request for the relief sought in this Application has been made to this

Court or any other Court.



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                          IV.     BASIS FOR RELIEF REQUESTED

         16.   Continued representation of the Debtors by its restructuring counsel, Akerman, is

critical to the success of the Debtors’ reorganization efforts because Akerman is and has become

familiar with the Debtors’ business, financial and legal affairs.

         17.   The Debtors have selected the firm of Akerman as its attorneys because of

Akerman’s experience with and knowledge of the Debtors and their businesses, including in

connection with Akerman’s prior representation of Debtors, as well as their extensive

experience, knowledge and expertise in the field of debtors’ and creditor rights and business

reorganizations under Chapter 11 of the Bankruptcy Code.

         18.   The Debtors desire to employ the firm of Akerman under a general retainer

because of the extensive legal services that will be required in connection with this Chapter 11

case.

                   V.      DISINTERESTEDNESS OF PROFESSIONALS

         19.   As set forth in the Berger Declaration, to the best of the Debtors’ knowledge, the

shareholders, counsel and associates of Akerman: (a) do not have any connection with the

Debtors, its creditors, the U.S. Trustee, any person employed in the office of the U.S. Trustee, or

any other party in interest, or their respective attorneys and accountants; (b) are disinterested

persons, as that term is defined in Section 101(14) of the Bankruptcy Code; and (c) do not hold

or represent any interest adverse to the Debtors’ estates.

         20.   More specifically, as set forth in the Berger Declaration:

                 (a)    Neither Akerman nor any attorney at the firm holds or represents an
         interest adverse to the Debtors’ estates.

                 (b)     Neither Akerman nor any attorney at Akerman is or was a creditor, an
         equity holder, or an insider of the Debtors, except that Akerman previously rendered
         legal services to the Debtors for which it was compensated.


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                 (c)     Neither Akerman nor any attorney at Akerman is or was, within two years
         before the Petition Date, a director, officer or employee of the Debtors.

                (d)     Akerman does not have an interest materially adverse to the interests of
         the Debtors’ estates or of any class of creditors or equity security holders by reason of
         any direct or indirect relationship to, connection with, or interest in the Debtors, or for
         any other reason.

                          VI.     REQUEST FOR INTERIM RELIEF

         21.    Section 327(a) of the Bankruptcy Code provides that a debtor, subject to Court

approval:

                [M]ay employ one or more attorneys, accountants, appraisers,
                auctioneers, or other professional persons, that do not hold or
                represent an interest adverse to the estate, and that are disinterested
                persons, to represent or assist the [debtor] in carrying out the
                [debtor]'s duties under this title.

11 U.S.C. § 327(a).

         22.    Bankruptcy Rule 2014(a) Bankruptcy Rule 2014(a) requires that an application

for retention include:

         [S]pecific facts showing the necessity for the employment, the name of the [firm]
         to be employed, the reasons for the selection, the professional services to be
         rendered, any proposed arrangement for compensation, and, to the best of the
         applicant's knowledge, all of the [firm's] connections with the debtor, creditors,
         any other party in interest, their respective attorneys and accountants, the United
         States trustee, or any person employed in the office of the United States trustee.

Fed. R. Bankr. P. 2014.

         23.    Pursuant to Bankruptcy Rule 6003, the court may grant relief regarding an

application pursuant to Bankruptcy Rule 2014 to retain a professional within 21 days after the

filing of the petition to the extent the relief is necessary to avoid immediate and irreparable harm.

Bankruptcy Rule 6003, however, does not expressly forbid courts from entering interim orders

approving professional retentions during the first 21 days of a chapter 11 cases. See, e.g., First

NLC Fin. Servs, LLC, Case No. 08-10632 (Bankr. S.D. Fla. Jan. 28, 2008); In re TOUSA, Inc., et


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al., Case No. 08-10928-BKC-JKO (Bankr. S.D. Fla. Jan. 31, 2008) (approving interim retentions

of financial advisor and legal counsel on interim basis within first 20 days of chapter 11 case).

         24.   First, according to the Advisory Committee note to Bankruptcy Rule 6003, the

standard employed in Bankruptcy Rule 6003 is taken from Bankruptcy Rule 4001(b)(2) and

(c)(2), and decisions under those provisions should provide guidance for the application of

Bankruptcy Rule 6003. Bankruptcy Rules 4001(b)(2) and (c)(2) are well understood and are the

model for numerous first-day motions, such as obtaining credit and seeking use of cash

collateral. That process is well established: if the court is so disposed, the partial relief is granted

for the interim before the final hearing can be conducted. Later, after further opportunity for

other parties in interest to consider the application and to object, the court, if so disposed will

grant the balance of the relief requested.

         25.   Second, Bankruptcy Rule 6003 is entitled “Interim and Final Relief Immediately

Following the Commencement of the Case....” Thus, the very title of the Bankruptcy Rule

contemplates that relief may be granted on an interim basis.

         26.   Interim relief is clearly justified and appropriate in the context of this Application.

         27.   It is well recognized in this district and others that a corporation must be

represented by counsel to appear in court because it is merely an artificial entity that can only act

through its agents and thus may not appear pro se. See, e.g., Palazzo v. Gulf Oil Corp., 764 F.2d

1381, 1385 (11th Cir. 1985) (“Corporations and partnerships, both of which are fictional legal

persons, obviously cannot appear for themselves personally . . . they must be represented by

licensed counsel.”); see also In re K.M.A., Inc., 652 F.2d 398, 399 (5th Cir. 1981) (“The law is

clear that a corporation as a fictional legal person can only be represented by licensed counsel.”);

Jones v. Niagara Frontier Transp. Authority, 722 F.2d 20, 22 (2d Cir. 1983) (“[I]t is established



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that a corporation, which is an artificial entity that can only act through agents, cannot proceed

pro se.”). This requirement is further established by Local Rule 1074-1, which provides that

“[c]orporations, partnerships, trusts and other non-individual parties may appear and be heard

only through counsel permitted to practice in the Court pursuant to Local Rule 2090-1.”

         28.   Accordingly, without general bankruptcy counsel, the Debtors are technically

unable to proceed with its case. Akerman will play an integral role in the first 21 days of this

Chapter 11 case. Among other things, the Debtors will need Akerman’s assistance in filing

schedules, stabilizing business operations, negotiating with key creditor constituencies,

addressing issues related to the “first day” hearing and related orders, constructing a business

plan and plan of reorganization and defining the Debtors’ paths post-restructuring.

         29.   Accordingly, the Debtors submit that they have satisfied the requirements of

Bankruptcy Rule 6003, which supports entry of an order authorizing the Debtors to retain and

employ Akerman on an interim basis and to compensate Akerman for any services rendered

during that interim period in accordance with the Bankruptcy Code and the interim compensation

procedures that may be established in this case.        This interim form of relief ensures the

availability of Akerman’s full resources to the Debtors during a critical period in this case, while

preserving the ability of all parties in interest, including the U.S. Trustee, to object to this

application on a final basis.

         WHEREFORE, the Debtors respectfully request that the Court enter an order in the

form attached as Exhibit “B”: (i) authorizing the Debtors’ retention of Michael I. Goldberg,

Esq., Eyal Berger, Esq. and the law firm of Akerman, LLP on an interim basis upon the terms

outlined in this Application effective as of the Petition Date; (ii) setting a final hearing on this




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 29th

day of April, 2020 via CM/ECF to all parties listed on the below service list, and served via US

Mail on the parties on the 20 largest unsecured creditors of Debtors’ estates.


                                              AKERMAN LLP
                                              Las Olas Centre II, Suite 1600
                                              350 East Las Olas Boulevard
                                              Fort Lauderdale, Florida 33301
                                              Tel: (954) 463-2700
                                              Fax: (954) 463-2224
                                              Proposed Attorneys for Debtors-in-Possession


                                         By: Amanda Klopp, Esq.
                                             Michael I. Goldberg, Esq.
                                             Florida Bar No. 886602
                                             michael.goldberg@akerman.com
                                             Eyal Berger, Esq.
                                             Florida Bar No. 11069
                                             eyal.berger@akerman.com
                                             Amanda Klopp, Esq.
                                             Florida Bar No. 124156
                                             amanda.klopp@akerman.com


                                        SERVICE LIST



20-14792-EPK Notice will be electronically mailed to:

Michael I Goldberg, Esq on behalf of Debtor TooJay's Management LLC
michael.goldberg@akerman.com, charlene.cerda@akerman.com

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov




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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 West Palm Beach Division
                                   www.flsb.uscourts.gov

In re:                                                              Chapter 11

TOOJAY’S MANAGEMENT LLC, et al.                                     Case No. 20-14792
                                                                    (Joint Administration
                                                                    Pending)

                Debtors.
                                      /

      DECLARATION OF EYAL BERGER, ESQ. IN SUPPORT OF THE DEBTORS"
         EMERGENCY APPLICATION FOR APPROVAL, ON AN INTERIM
        AND FINAL BASIS, OF EMPLOYMENT OF MICHAEL I. GOLDBERG,
           EYAL BERGER, AND THE LAW FIRM OF AKERMAN LLP AS
      GENERAL BANKRUPTCY COUNSEL FOR THE DEBTORS-IN-POSSESSION
                   EFFECTIVE AS OF THE PETITION DATE

         Eyal Berger, Esq. makes this Declaration pursuant to 28 U.S.C. § 1746, and states:

         1.     I am an attorney and shareholder of the law firm of Akerman LLP (“Akerman”)

with offices located in Fort Lauderdale, Florida. I am familiar with the matters set forth herein

and make this Affidavit in support of the Debtor's Emergency Application for Approval, on an

Interim and Final Basis, of Employment of Michael I. Goldberg, Eyal Berger and the Law Firm

of Akerman LLP as General Bankruptcy Counsel for the Debtor-in-Possession Effective as of the

Petition Date (the “Application”). All terms not defined herein shall have the meaning ascribed

in the Application.

         2.     I am admitted to practice in the State of Florida, the United States District Court

for the Southern District of Florida and am qualified to practice in the U.S. Bankruptcy Court for

the Southern District of Florida. Michael I. Goldberg is admitted to practice in the State of

Florida, the United States District Court for the Southern District of Florida and is qualified to

practice in the U.S. Bankruptcy Court for the Southern District of Florida.



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         3.     In support of the Application, I disclose the following:

                a.     Unless otherwise stated, this Affidavit is based upon facts of which I have

         personal knowledge.

                b.     In preparing this Affidavit, I have reviewed the list of all creditors and

         equity security holders of the Debtors provided to us by the Debtors. Akerman maintains

         a computerized conflicts check system. Akerman has compared the information obtained

         thereby with the information contained in its client and adverse party conflict check

         system on an expedited basis. The facts stated in this Affidavit as to the relationship

         between Akerman and the Debtors, the Debtors’ creditors, the United States Trustee,

         other persons employed by the Office of the United States Trustee, and those persons and

         entities who are defined as disinterested persons in Section 101(14) of the Bankruptcy

         Code, are based on the results of my review of Akerman's conflict check system. Based

         upon such expedited search, Akerman does not represent any entity in any matter

         involving or adverse to the Debtors or which would constitute a conflict of interest,

         except as provided herein, or impair the disinterestedness of Akerman in respect of its

         representation of the Debtors herein. To the extent that a further conflicts search or a

         search of additional entities returns results indicating an adverse relationship, this

         Declaration will be supplemented.

         4.     Akerman’s client and adverse party conflicts check system is comprised of

records regularly maintained in the course of business by Akerman, and it is the regular practice

of Akerman to make and maintain these records. The system reflects entries that are noted at the

time the information becomes known by persons whose regular duties include recording and




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maintaining this information. I regularly use and rely upon the information contained in the

system in the performance of my duties with Akerman and in my practice of law.

         5.     Neither I, Michael I. Goldberg, nor Akerman holds nor represents any interest

adverse to the Debtors and are disinterested persons as required by 11 U.S.C. § 327(a) and within

the scope and meaning of Section 101(14) of the Bankruptcy Code.

         6.     Neither I, nor Akerman, have or will represent any other entity in connection with

these cases, except as follows:

                (a)    Akerman represents Branford Chain, Inc. and certain of its affiliates

         (“BC”). BC is an equity interest holder in Debtor. Akerman has in the past and currently

         represents and advises BC in a variety of matters, including representation of BC relating

         to its investment in TJ. Akerman has obtained a signed waiver of conflicts from BC.

         7.     Neither I, nor Akerman, will accept any fee from any other party or parties in

these cases, except the Debtors-In-Possession, unless otherwise authorized by the Court.

         8.     According to Akerman's records, Akerman was engaged by the Debtors for

restructuring services on April 26, 2020 and in connection therewith received an initial retainer

from Debtor, TOOJAY’S MANAGEMENT LLC in the amount of $800,000 (the “Prepetition

Retainer”), in the amount of $800,000 (the “Prepetition Retainer”), of which amount $62,000 (a

total of $2,000 for each of the cases of Debtors and the Filing Affiliates) is a retainer to cover

filing fees and other costs, and the remaining $738,000 is to cover professional fees in the

Debtors’ and Filing Affiliates’ cases.      Of the Prepetition Retainer, Akerman has earned

$57,572.48 at the time of the filing of the Petitions. All post-petition fees and expenses incurred

by Akerman, in excess of the Prepetition Retainer, shall be paid from a portion of the Debtors’




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cash collateral and future revenues upon approval of the Court.           A copy of the executed

engagement letter is attached as Exhibit “1” hereto.

         9.    The professional fees and costs to be incurred by Akerman in the course of its

representation of the Debtors in this case shall be subject in all respects to the application and

notice requirement of 11 U.S.C. §§ 330 and 331 and Fed. R. Bank. P. 2014 and 2016.

         10.   The hourly rates for the attorneys at Akerman range from $265 to $800 per hour.

The hourly rates of Michael I. Goldberg and Eyal Berger, the attorneys who will be principally

working on this case, are $725 and $550, respectively. These rates represent courtesy discounts

of $60 and $50, respectively, off of normal hourly rates.               The hourly rates for the

paraprofessionals at Akerman range from $200 to $275. Akerman reserves the right to increase

its hourly rates in accordance with its normal and customary business practices.

         11.   There is no agreement of any nature as to the sharing of any compensation to be

paid to Akerman, except between the attorneys of Akerman. No promises have been received by

Akerman, nor any member or associate thereof, as to compensation in connection with these

cases other than in accordance with the provisions of the Bankruptcy Code.

         12.   No attorney at Akerman holds a direct or indirect equity interest in the Debtors,

including stock or stock warrants, or has a right to acquire such an interest.

         13.   No attorney at Akerman is or has served as an officer, director or employee of the

Debtors within two years before the Petition Date.

         14.   No attorney at Akerman is in control of the Debtors or is a relative of a director,

officer or person in control of the Debtors.

         15.   No attorney at Akerman is a general or limited partner of a partnership in which

the Debtors are also a general or limited partner.



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         16.    No attorney at Akerman is or has served as an officer, director or employee of a

financial advisor that has been engaged by the Debtors in connection with the offer, sale or

issuance of a security of the Debtors within two years before the Petition Date.

         17.    No attorney at Akerman has represented a financial advisor of the Debtors in

connection with the offer, sale or issuance of a security of the Debtors within three years before

the Petition Date.

         18.    No attorney at Akerman has any other interest, direct or indirect, that may be

affected by the proposed representation.

         19.    Except as set forth herein, no attorney at Akerman has had or presently has any

connection with the above-captioned Debtors or the estate on any matters in which Akerman is

to be engaged, except that I, Akerman or our attorneys may represent or may have represented

certain of the Debtors’ creditors in matters unrelated to this case.

         20.    Specifically, a search of Akerman's conflicts check system revealed the following

matters, which do not impair my or Akerman's disinterestedness or constitute any conflict of

interest:

                (a)     Truist   Bank    (“Truist”)    is   a   creditor   of   Debtor   TOOJAY’S

         MANAGEMENT LLC. Akerman represents Truist and certain of its affiliate in matters

         wholly unrelated to this bankruptcy case. The Debtors do not anticipate any contested

         matters with Truist and to the extent any arise, the Debtors’ estates will retain special

         conflicts counsel to address.

                (b)     Pepsico, Inc. is a potential creditor of Debtors. Akerman has in the past

         represented and/or currently represents Pepsico and certain of its affiliate in matters

         wholly unrelated to this bankruptcy case.



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Exhibit 2
AFCO
AIRGAS DRY ICE
AM PRODUCTION SERVICES INC
AON RISK SERVICES NORTHEAST INC
AT&T
BETANCOURT, JOSE, JR.
BOARD OF COUNTY COMMISSIONERS PBCTY
BREAKTHRU MARKETING LLC
BROWN, TERRY
CANON FINANCIAL SERVICES INC
CANON SOLUTIONS
CARGILL FOOD DIST
CHENEY BROS INC
CIGNA
CIT
CITIZENS BANK
CITY OF BOYNTON BEACH
CITY OF BOYNTON BEACH PYMT PROCESSING CENTER
CITY OF BOYNTON BEACH UTILITIES
CITY OF HALLANDALE BEACH
CITY OF LAKE WORTH
CITY OF LAKE WORTH LICENSE & PERMITS
CITY OF ORLANDO BUSINESS TAX
CITY OF PALM BEACH GARDENS LICENSE
CITY OF PEMBROKE PINES
CITY OF PEMBROKE PINES TAX
CITY OF PLANTATION
CITY OF PLANTATIONTAX
CITY OF WEST PALM BEACH
CITY OF WEST PALM BEACH FIRE RESCUE
CITY OF WPB FINANCE DEPT ALARM RENEW
COMCAST 71211
COVERALL NORTH AMERICA INC
CUSTOM CULINARY, INC.
DADE PAPER CO
DANIA LIVE JV LLC
DDR CORP
DIRECTV
DUKE ENERGY
EAGLE BENEFITS BY DESIGN
ENVIRO-MASTER INTL FRANCHISE, INC.
EQUITY ONE INC
FP&L
FEDERAL EXPRESS CORP
FEDERAL INSURANCE COMPANY
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FLORIDA PUBLIC UTILITY
FORD MOTOR CREDIT CO
GARDA CL SOUTHEAST INC
GOLD COAST BEVER. LLC
GORDON FOOD SERVICE INC
GRAY ROBINSON PA
HADASSAH THE GREATER VENICE CHAPTER
HCI CABINETRY DIVISION INC
HIGHWOODS REALTY LIMITED PARTNERSHIP
IPFS CORPORATION
JAMESTOWN PCS LP
JOHNSON CONTROLS SECURITY SOLUTIONS
LAKE APOPKA NATURAL GAS DISTRICT
LEVIN, STEPHEN
LINKEDIN CORPORATION
MCKEE, BOB, LAKE COUNTY TAX COLLECTOR
MESIROW INSURANCE SERVICES INC.
MIDLAND FUDING LLC AS SUCCSSO
NEC FINANCIAL SERVICES LLC
NEW CARBON COMPANY LLC
ORLANDO UTILITIES COMM
PACKAGING CORP OF AMERICAN
PALM BEACH COUNTY CHAPTER RIMS
PALM BEACH COUNTY SHERIFF'S OFFICE ALARM
PALM BEACH FIRE RESCUE
PEREZ, CARLOS
PITNEY BOWES GLOBAL FINANCIAL SER
PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC
POWERMAT INC
PREMIER PRODUCE
PURATOS CORPORATION
REPUBLIC SERVICES #695
RIVERSIDE PAPER CO., INC.
ROSS, MICHAEL
ROSS, MIKE
RPP PALM BEACH PROPERTY LP
RYDER TRANSPORTATION SERVICES
SABAL DESIGN LLC
SEABREEZE PUBLICATIONS
SHOES FOR CREWS,INC.
SHOPCORE PROPERTIES LP
SMG
SOUTHERN GLAZERS WINE AND SPIRITS LLC
SOUTHGATE MALL OWNER LLC
STANDARD PARKING
STAPLES BUSINESS ADVANTAGE
SUN LIFE FINANCIAL
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SYSCO FOOD SERVICES
TECO PEOPLES GAS
THE C.F. SAUER COMPANY
THE REFUGE A HEALING PLACE LLC
THE VILLAGES GOLF CARS
THE VILLAGES OPERATING COMPANY
THOMAS REUTERS TAX & ACCOUNTING PROFESSI
T-MOBILE
TOWN OF PALM BEACH PLANNING ZONING
UCF ALUMNI CENTER
UCF ARENA
UCF CONVOCATION CORPORATION
UCF STUDENT UNION
UNITED STATES TREASURY
VERIZON DALLAS
VILLAGE CENTER CDD-UTILITY
WASHINGTON PRIME GROUP LP
WASTE MANAGEMENT INC OF FLORIDA 105453
WASTE PRO-ORLANDO
WEX BANK
ZENITH INSURANCE
ZENITH INSURANCE COMPANY
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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      West Palm Beach Division
                                        www.flsb.uscourts.gov



In re:                                                                             Chapter 11

TOOJAY’S MANAGEMENT LLC,                                                           Case No. 20-14792-EPK


                    Debtor.
                                                        /

             ORDER ON DEBTORS’ EMERGENCY APPLICATION FOR
        APPROVAL, ON AN INTERIM AND FINAL BASIS, OF EMPLOYMENT
         OF MICHAEL I. GOLDBERG, EYAL BERGER, AND THE LAW FIRM
        OF AKERMAN LLP AS GENERAL BANKRUPTCY COUNSEL FOR THE
    DEBTORS-IN-POSSESSION EFFECTIVE AS OF THE PETITION DATE [ECF NO. _]

           THIS MATTER came before the Court on _________, 2020 at ___:00 a.m. upon

    the application (the “Application”) of Debtors, 1 for entry of an interim and final order,

    pursuant to 11 U.S.C. §§ 327(a) and 330 and Bankruptcy Rules 2014(a), 2016 and 6003,

    authorizing the Debtors to employ and retain Michael I. Goldberg, Esq. (“Goldberg”), Eyal


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    All terms not defined herein shall have the meaning ascribed in the Application.

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Berger, Esq. (“Berger”) and the law firm of Akerman LLP (“Akerman”) under a general

retainer as its restructuring and general bankruptcy attorneys in their and their Filing

Affiliates’ Chapter 11 cases (ECF No. ___). The Court, finding that good, adequate and

sufficient cause has been shown to justify the entry of this order; and it appearing that the

relief requested is in the best interests of the Debtors’ estates, their creditors and other

parties in interest; and the Court having jurisdiction to consider the Application and the

relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the

Application and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

§ 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; and the Court having reviewed the Application and the Declaration of Eyal Berger, a

shareholder of Akerman, attached to the Application (the “Berger Declaration”); and the

Court being satisfied based on the representations made in the Application and the Berger

Declaration that, (a) Goldberg and Berger are duly qualified under Local Rule 2090-1(A)

to practice in this Court, (b) Goldberg, Berger and Akerman do not hold or represent an

interest adverse to the Debtors’ estates, and (c) Goldberg, Berger and Akerman are

“disinterested persons” as defined in section 101(14) of the Bankruptcy Code and as

required by section 327(a) of the Bankruptcy Code, and have disclosed any connections

with parties set forth in Bankruptcy Rule 2014; and due and proper notice of the

Application having been provided, and it appearing that no other or further notice need be

provided; and after due deliberation and sufficient cause appearing therefor, it is

             ORDERED as follows:

             1.   The Application is GRANTED effective as of the Petition Date.

             2.   The Debtors are authorized to employ and retain Michael I. Goldberg, Eyal

Berger and the law firm of Akerman as general counsel in these Chapter 11 cases to represent


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them and their Filing Affiliates in general bankruptcy matters and other proceedings that may

arise during the course of the representation as set forth in the Application and in accordance

with the terms of this Interim Order.

             3.   The Court approves the terms in the engagement letter attached to the Berger

Declaration on an interim basis.

             4.   Akerman shall maintain contemporaneous time records with the rendition of

services, and shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ and Filing Affiliates

Chapter 11 cases in compliance with the applicable provisions of the Bankruptcy Code, Federal

Rules of Bankruptcy Procedure, Local Rules, Guidelines for Fees Applications for Professionals

in the Southern District of Florida in Bankruptcy Cases, and such other applicable procedures

and orders of this Court.

             5.   This Order shall remain in effect for a period of thirty days from the date the

Court grants to Motion, or until otherwise ordered by the Court.

             6.   This Court shall hold a final hearing on this Motion on __________, 2020 at

_____ a.m./p.m. at the Flagler Waterview Building, 1515 North Flagler Drive, Suite 801, West

Palm Beach, FL 33401.

                                                 ###

Submitted By:
Eyal Berger, Esq.
AKERMAN LLP
Counsel for Debtors-in-Possession
350 East Las Olas Blvd., Suite 1600
Fort Lauderdale, Florida 33301
Tel: 954-463-2700
Fax: 954-463-2224
eyal.berger@akerman.com
[Attorney Berger is hereby directed to serve a conformed copy of this order on all interested
parties and file a certificate of service conforming with Local Rule 2002-1(F).]


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